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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                                )
                                                       )      Case No. 18-14330-MER
 WAY TO GROW, INC.,                                    )
 EIN: XX-XXXXXXX                                       )      Chapter 11
                                                       )
    Debtor.                                            )
                                                       )
 PURE AGROBUSINESS, INC.,                              )      Case No. 18-14334-MER
 EIN: XX-XXXXXXX                                       )
                                                       )      Chapter 11
    Debtor.                                            )
                                                       )
 GREEN DOOR AGRO, INC.,                                )      Case No. 18-14333-MER
 EIN: XX-XXXXXXX                                       )
                                                       )      Chapter 11
    Debtor.                                            )
                                                       )

     OBJECTION TO MOTION OF BLUE MOOSE, LLC PURSUANT TO 11 U.S.C.§
     365(d)(3) TO COMPEL IMMEDIATE PAYMENT OF POST-PETITION RENT
                             OBLIGATIONS

          The Debtor, Way To Grow, Inc. (“WTG” or “Debtor”), by and through its attorneys, Kutner
 Brinen, P.C., states its Objection to Motion of Blue Moose, LLC Pursuant to 11 U.S.C. § 365(d)(3)
 to Compel Immediate Payment of Post-Petition Rent Obligations (“Motion to Compel”), and in
 support thereof states as follows:
          1.     The Debtor filed its voluntary petition pursuant to Chapter 11 of the Bankruptcy Code
 on May 18, 2018 (“Petition Date”). The Debtor remains a Debtor-in-Possession.
          2.     The Debtor is engaged in business as a retail vendor of hydroponic equipment and
 supplies in Colorado through 7 retail outlets and over the internet.
          3.     Pre-petition the Debtor entered into a Commercial Lease (“Fort Collins Lease”) for
 certain real property located at 3201 East Mulberry Street, Units I, J, K, L, M, and N, Fort Collins,
 Colorado (the “Fort Collins Property”) with Blue Moose, LLC (“Blue Moose”).
          4.     Corey Inniss (“Corey”) is the individual who sold WTG to Pure Agrobusiness, Inc.
 (“Pure”) on January 1, 2016.
          5.     In connection with the sale of WTG, it appears that Corey’s mother, Susan Inniss, her
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 ex-husband, James Blaha (“Blaha”), and Corey put together an elaborate fraud with respect to Pure.
 The leases that were executed by and between Susan and Blaha, through his company, Blue Moose,
 as landlords and WTG as tenant, including the Fort Collins Lease, were all put together and signed
 on January 1, 2016, after the sale closing.
          6.     Prior to the sale, WTG rented each of the individual units in the Fort Collins Property
 subject to a separate lease. It was only after that sale of WTG closed that Blaha and Corey executed
 the new Fort Collins Lease, which combined single lease for all six units at a significantly increased
 rate.
          7.     Pre-petition, in January 2018, the Debtor determined that it did not need Units M and
 N (“Vacant Units”) and, at its own expense, constructed a wall to partition the unused units from the
 remainder of the Fort Collins Property.
          8.     The Debtor has removed all personal property from Units M and N and surrendered
 possession of the Vacant Units to Blue Moose.
          9.     The Debtor has surrendered possession to Units M and N by voluntary returning keys
 to the units to Blue Moose. The Debtor has further assisted in showing Blue Moose to prospective
 tenants, and/or purchasers of the Vacant Units.
          10.    In or around February 1, 2018, Blue Moose proposed a Lease Addendum, pursuant to
 which the Debtor would not be required to pay rent for the Vacant Units. The proposed Lease
 Addendum further required the Debtor to pay to reconstruct a staircase and bathroom removed prior
 to the sale of WTG.
          11.    The Debtor has stopped paying rent for the Vacant Units, but has remained current on
 the rent for Units I, J, K, and L.
          12.    Post-petition, on June 27, 2018, the Debtor filed a Complaint against Blaha and Blue
 Moose, in addition to Corey and Susan Inniss, asserting claims against Blaha and Blue Moose for
 avoidance of fraudulent transfers, breach of fiduciary duty, conversion of funds, disallowance of
 claims, and subordination of claims (“Inniss Adversary Proceeding”).
          13.    Despite its prior willingness to waive payments for rent related to the Vacant Units,
 Blue Moose now demands immediate payment of post-petition rent obligations related to the Vacant
 Units.
          14.    The Debtor objects first on the basis that there is no basis to compel immediate
 payment of the post-petition rent related to the Vacant Units. The Debtor is not currently occupying
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 the Vacant Units, and Blue Moose agreed to waive payments for the Vacant Units on a pre-petition
 basis.
           15.   Furthermore, because the Debtor has vacated the Vacant Units and surrendered
 possession of the Vacant Units to Blue Moose, the Vacant Units are not providing any benefit to the
 estate.
           16.   Accordingly, the Motion to Compel should be denied.
           17.   Equitable grounds further exist to deny the Motion to Compel. The Debtor has
 claims against Blaha and Blue Moose for recovery of fraudulent transfers and conversion of funds
 due to Blaha and Blue Moose’s actions in charging significantly above market rent for the Fort
 Collins Property. The Debtor has further alleged that the Fort Collins Lease itself constitutes a
 fraudulent transfer. Compelling the Debtor to now pay additional amounts for the above market
 rent charged by Blaha in furtherance of his fraudulent scheme when Blaha has previously waived
 payment to such amount is inherently inequitable, and contrary to the reorganization purpose of the
 Debtor’s bankruptcy case.
           18.   Even to the extent the Court does not deny the Motion to Compel, cause exists to
 extend the time for performance.
           19.   Pursuant to 11 U.S.C. § 365(d)(3), the court may, for cause extend the time to
 perform any obligation arising under a nonresidential lease on a post-petition basis if such obligation
 arises within 60 days of the order for relief.
           20.   The alleged obligations for which Blue Moose seeks immediate payment arose during
 the first 60 days of the Debtor’s bankruptcy case, and cause exists to extend the time for
 performance due to the claims pending in the Inniss Adversary Proceeding and the fact that the
 Debtor has vacated and surrendered possession of the Vacant Units.
           21.   The Debtor reserves the right to supplement and its Objection to the Motion to
 Compel as additional facts regarding the Fort Collins Lease come to light through the Inniss
 Adversary Proceeding.
                            [remainder of page intentionally left blank]
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        WHEREFORE the Debtor prays that the Court make and enter an Order denying the Motion
 to Compel, and for such further and additional relief as to the Court may appear proper.


 DATED: June 29, 2018                         Respectfully submitted,


                                              By:   /s/ Keri L. Riley
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